Case: 4:21-cr-00536-AGF-NCC Doc. #: 30 Filed: 09/29/21 Page: 1 of 2 PageID #: 72
                                                                                        FILED
                                                                                     SEP 2 9 2021
                              UNITED STATES DISTRICT COURT                          U S DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI                        EASTERN DISTRICT OF MO
                                                                                         ST. LOUIS
                                    EASTERN DIVISION


UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )                                                    ~\
                                                      )
vs.                                                   )
                                                      )
                                                             4:21 CR536 AGF/NCC
CHRISTOPHER FRANKLIN and                              )
KANIYA SLOAN                                          )
                                                      )
                       Defendants.                    )


                                         INDICTMENT

                                          COUNT ONE

      The Grand Jury charges that:

      Beginning on or about September 13, 2021, through and including September 15, 2021, in

the City of St. Louis, Missouri, within the Eastern District of Missouri,

                               CHRISTOPHER FRANKLIN and
                                    KANIYA SLOAN,

the defendants herein, at a place within the special maritime and territorial jurisdiction of the

United States, namely the Gateway National Arch Park, on land acquired for the use of the United

States and under its concurrent jurisdiction, aided, abetted, counseled, commanded, and induced

another person to take from the person and presence of A.P. and S.S., two cellular phones, by force

and violence and by intimidation, in violation of Title 18, United States Code, Section 7(3), Section

2111, and Section 2.

                                          COUNT TWO

      The Grand Jury further charges that:

      Beginning on or about September 13, 2021, through and including September 15, 2021, i~
Case: 4:21-cr-00536-AGF-NCC Doc. #: 30 Filed: 09/29/21 Page: 2 of 2 PageID #: 73




the City of St. Louis, Missouri, within the Eastern District of Missouri,

                               CHRISTOPHER FRANKLIN and
                                    KANIYA SLOAN,

the defendants herein, knowingly received, relieved, comforted and assisted another who had, at a

place within the special maritime and territorial jurisdiction of the United States, namely the

Gateway National Arch Park, on land acquired for the use of the United States and under its

concurrent jurisdiction, taken from the person and presence of A.P. and S.S., two cellular phones,

by force and violence and by intimidation, in order to hinder or prevent said person's apprehension,

trial or punishment, in violation of Title 18, United States Code, Section 7(3), Section 2111, and

Section 3.


                                                             A TRUE BILL


                                                             FOREPERSON
SAYLER A. FLEMING
United States Attorney



CATHERINE M. HOAG, #67500MO
Assistant United States Attorney
